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 7
                              UNITED STATES DISTRICT COURT
 8
                             CENTRAL DISTRICT OF CALIFORNIA
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12      NEMAN BROTHERS & ASSOC.,                 Case No.: 2:20-cv-11181-CAS-JPR
13      INC., a California Corporation;
14                                               EVIDENTIARY OBJECTION TO
                  Plaintiff/Counter-Defendant,
15                                               DECLARATION OF WEIWEI LE
                  vs.
16
17      INTERFOCUS, INC., a California           Date: August 23, 2021
        Corporation, et al.,                     Time: 10 a.m.
18                 Defendant/Counter-Claimant
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                        EVIDENTIARY OBJECTION TO DECLARATION OF WEIWEI LE
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 1
 2        MATERIAL OBJECTED TO               GROUNDS FOR OBJECTION                 COURT’
 3                                                                                   S
 4                                                                                 RULING
 5                                           Objection against the declarations
 6                                           and the new exhibits in their
 7                                           entirety as it is an improper
 8                                           attempt to introduce new
 9                                           evidence for the first time with
10                                           the reply, which would deprive
11                                           the opposing party’s right to
12                                           properly respond thereto.
13
14                                           Further, the new exhibits are not
15                                           relevant to Interfocus motion for
16                                           summary judgment but Neman
17                                           Brothers’ motion. Using its reply,
18                                           Interfocus is attempting to file a
19                                           sur-reply to improperly
20                                           supplement its opposition to
21                                           Neman Brothers’ motion after
22                                           reviewing Neman Brothers’
23                                           reply. Unless requested by the
24                                           court, no response to the reply
25                                           brief is allowed. See CD CA L.R.
26                                           7-10.
27      1. I am informed and believed that   Mischaracterization, legal
28      Neman Brothers has claimed that      conclusion, lack of court-certified


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 1      InterFocus did not produce any          translation, violation of Rule         Sustained:
 2      business records to support the         33(d), unintelligible (A party who ____
 3      information I provided in paragraph     responds to an interrogatory by
 4      14 of the declaration I provided in     producing documents written in a
 5      support of InterFocus’ motion for       foreign language must provide a        Overruled:
 6      summary judgment. I personally          translation of those documents.        ____
 7      supervised the gathering of             FRCP R. 33(d) (West
 8      documents Neman Brothers                2021); Nature's Plus Nordic A/S
 9      requested in the Request for            v. Natural Organics, Inc. (ED NY
10      Production of Documents it served       2011) 274 FRD 437, 441. The
11      on InterFocus, and can advise the       purported business records about
12      Court that Neman Brothers is            the sale, earning and cost show no
13      mistaken. InterFocus maintains its      numbers at all. It only has
14      sales records on a computer database    Chinese characters never
15      in the normal course of its business,   translated in English. The
16      and sales information for specific      production was not only in
17      garments can be obtained by making      response to the document
18      an inquiry to that database. Copies of requests but the interrogatories
19      such print screens for the garments     asking about sale, earning and
20      whose sales history is summarized in    cost. It is improper to produce
21      paragraph 14 of my earlier              such documents with no
22      declaration have been provided to       explanation or translation in lieu
23      counsel, and, I am informed and         of the responses to
24      believe, some of them, specifically     interrogatories. Interfocus at least
25      the records showing when in 2020        should have given some
26      InterFocus stopped selling some the     explanations in the interrogatory
27      garments shown in the paragraph 14      answers.)
28      chart, were produced to Neman


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 1      Brothers in response to the Request      irrelevant (Exhibit 2 on its
 2      for Production of Documents it           background shows it is about the
 3      served on InterFocus. True and           baby dress (Infringing Garment
 4      correct copies of those records are      2) that Interfocus claimed to have
 5      attached as Exhibit 2.                   removed as of September 2020
 6                                               after which there should be no
 7                                               sale, earning or cost. However,
 8                                               most of the entries are with the
 9                                               dates of the claimed removal.
10                                               Exhibit 3’s background also
11                                               shows it is about Prior Infringing
12                                               Garments (baby tops) while the
13                                               issue is whether Interfocus
14                                               produced proper business records
15                                               about the Infringing Garments to
16                                               support its claim that the profits
17                                               from the sale of the Infringment
18                                               garment was less than $1,000,
19                                               which was to be given in
20                                               response to Neman’s
21                                               Interrogatories asking about sale,
22                                               earning and cost and in
23                                               compliance with Rule 37 which is
24                                               self-executing.
25      2. Attached as Exhibit 3 are true and    irrelevant (Exhibit 3’s
26      correct print screen copies of records   background also shows it is about    Sustained:
27      from that same database which show       Prior Infringing Garments (baby      ____
28      the dates in 2019 on which               tops) while the issue is whether


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 1      InterFocus stopped selling the other   Interfocus produced proper
 2      garments shown in the summary          business records about the         Overruled:
 3      chart in paragraph 14 of my earlier    Infringing Garments to support its ____
 4      declaration.                           claim that the profits from the
 5                                             sale of the Infringement garment
 6                                             was less than $1,000, which was
 7                                             to be given in response to
 8                                             Neman’s Interrogatories asking
 9                                             about sale, earning and cost and
10                                             in compliance with Rule 37
11                                             which is self-executing.
12           IT IS SO ORDERED.
13           DATED:
14
                                               __________________________________
15                                             Honorable Judge Christina A. Snyder
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